

People v Fernandez (2018 NY Slip Op 03994)





People v Fernandez


2018 NY Slip Op 03994


Decided on June 6, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 6, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

JOHN M. LEVENTHAL, J.P.
LEONARD B. AUSTIN
JEFFREY A. COHEN
BETSY BARROS
LINDA CHRISTOPHER, JJ.


2014-10288
 (Ind. No. 13-00425)

[*1]The People of the State of New York, respondent,
vDelvin Fernandez, appellant.


James D. Licata, New City, NY (Ellen O'Hara Woods of counsel), for appellant.
Thomas P. Zugibe, District Attorney, New City, NY (Itamar J. Yeger of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Rockland County (William K. Nelson, J.), rendered August 5, 2014, convicting him of criminal sale of a controlled substance in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
The defendant's valid waiver of his right to appeal (see People v Sanders, 25 NY3d 337, 341; People v Ramos, 7 NY3d 737, 738; People v Lopez, 6 NY3d 248, 256; People v Muniz, 91 NY2d 570, 575; cf. People v Pelaez, 100 AD3d 803) precludes appellate review of his contention that the sentence imposed was excessive (see People v Seaberg, 74 NY2d 1, 9).
LEVENTHAL, J.P., AUSTIN, COHEN, BARROS and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








